     Case 1:19-cv-01974-TNM Document 1-10 Filed 07/02/19 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF REPRESENTATIVES,
1102 Longworth House Office Building
Washington, D.C. 20515,

                            Plaintiff,

           v.                                         Case No. 1:19-cv-1974

UNITED STATES DEPARTMENT OF
THE TREASURY,
1500 Pennsylvania Avenue N.W.
Washington, D.C. 20220, et al.,

                             Defendants.




                            Exhibit J
           Case 1:19-cv-01974-TNM Document 1-10 Filed 07/02/19 Page 2 of 2

                              DEPARTMENT OF THE TREASURY
                                  INTERNAL REVENUE SERVICE
                                    WASHINGTON, D.C. 20224

COMMISSIONER


                                          May 6, 2019




   The Honorable Richard E. Neal
   Chairman
   Committee on Ways and Means
   U.S. House of Representatives
   Washington, DC 20515

   Dear Chairman Neal:

   In further response to your letter dated April 3, 2019, I concur with the letter sent to you
   today by Secretary Mnuchin and the conclusion reached in that letter.

   If I can be of further assistance, please contact me, or a member of your staff can
   contact Leonard Oursler, Director, Legislative Affairs, at 202-317-6985.
